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6
                            UNITED STATES DISTRICT COURT
7                                DISRTICT OF NEVADA
8

9    KRISTINE VARGAS                                  Case No.: 2:21-cv-00519-GMN-BNW
10                 Plaintiff,                         STIPULATION AND ORDER FOR
                                                      DISMISSAL WITH PREJUDICE AS
11          vs.                                       TO DEFENDANT USAA FEDERAL
                                                      SAVINGS BANK
12
     USAA FEDERAL SAVINGS BANK
13
                  Defendant.
14

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17          Pursuant to Federal Rule of Civil Procedure, Rule 41, Plaintiff Kristine Vargas

18   (“Plaintiff”) and Defendant USAA Federal Savings Bank (“USAA”), by and through
19
     undersigned counsel, hereby stipulate that this action and all claims and defenses
20
     asserted therein be dismissed with prejudice. The parties have further stipulated that
21
     each party shall bear their own attorneys’ fees, costs, and expenses.
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23     RESPECTFULLY SUBMITTED,

24

25     Dated: October 5, 2021




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          Case 2:21-cv-00519-GMN-BNW Document 40 Filed 10/05/21 Page 2 of 2




      By: /s/Steven A. Alpert                   By: /s/Priscilla L. O’Briant
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                                                priscilla.obriant@lewisbrisbois.com
7                                               Attorneys for Defendant
                                                USAA Federal Savings Bank
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10                                           IT IS SO ORDERED. The Clerk of Court shall
                                             close the case accordingly.
11
                                             Dated this ____
                                                         5 day of October, 2021
12
                                             ___________________________
13
                                             Gloria M. Navarro, District Judge
14                                           UNITED STATES DISTRICT COURT

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16

17                               CERTIFICATE OF SERVICE

18          I hereby certify that on October 5, 2021, I electronically filed the foregoing with
19
     the Clerk of the Court using the ECF system, which will send notice of such filing to all
20
     attorneys of record in this matter.
21
            /s/Jacey Gutierrez
22

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